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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


     ROBERT J. TURCO,                           )
                                                )
                    Plaintiff,                  )            Civil Action No. 2:19-cv-00174
                                                )
         v.                                     )            Hon. Christy Criswell Wiegand
                                                )
     ZAMBELLI FIREWORKS                         )
     MANUFACTURING CO.,                         )
                                                )
                    Defendant.                  )
                                                )
                                                )

                 MEMORANDUM OF LAW IN SUPPORT OF
         DEFENDANT’S MOTION FOR JUDGMENT AS A MATTER OF LAW

        Defendant, Zambelli Fireworks Manufacturing Co. (“Zambelli” or “Defendant”), through

its attorneys, Metz Lewis Brodman Must O’Keefe, LLC, hereby moves this Honorable Court

pursuant to Rule 50(a) of the Federal Rules of Civil Procedure for judgment as a matter of law on

Plaintiff, Robert J. Turco’s (“Turco” or “Plaintiff”), claims of employment discrimination in

violation of the Americans with Disabilities Act (“ADA”) and the Pennsylvania Human Relations

Act (“PHRA”).

I.      INTRODUCTION

        Turco claims that Zambelli violated the ADA and PHRA. In support of this claim, he

alleges that Zambelli (1) failed to accommodate his disability by denying his request for an office

with a window at Zambelli’s new offices to accommodate his claustrophobia; (2) terminating his

employment because of his disability; and (3) terminating his employment in retaliation for his

request for an accommodation. Turco has been heard on the issues relevant to his claims and there

is no legally sufficient evidentiary basis for a reasonable jury to find liability on the part of

Zambelli on any of Turco’s claims. Given that Turco has failed to satisfy the substantive burdens
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imposed upon him, judgment should be entered for Zambelli as a matter of law. See, Fed. R. Civ.

P. 50(a).

II.    STANDARD OF REVIEW

       Federal Rule of Civil Procedure Rule 50(a) allows a part to move for judgment as a matter

of law any time after a party has been fully heard on an issue and “there is no legally sufficient

evidentiary basis for a reasonable jury to find for that party on that issue.” Fed. R. Civ. P. 50(a).

A Rule 50(a) motion should be granted when “there is insufficient evidence from which a jury

could reasonably find [for the non-movant].” Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153,

1166 (3d Cir. 1993). While “judgment as a matter of law should be granted sparingly, federal

courts do not follow the rule that a scintilla of evidence is enough for the Court to deny the

motion.” Johnson v. Nicholson, Case No. 06-4316, 2009 WL 2180352, * 2 (E.D. Pa. July 20,

2009) (emphasis added) (citation omitted). “The question is not whether there is literally no

evidence supporting the party against whom the motion is directed but whether there is evidence

upon which the jury could properly find a verdict for that party.” Foster v. National Fuel Gas Co.,

316 F.3d 424, 428 (3d Cir. 2003) (citations and quotations omitted).

       It is the jury’s role to decide issues of credibility, however, “a jury may not reject testimony

[from a disinterested witnesses] that is uncontradicted and unimpeached[.]” Quintana-Ruiz v.

Hyundai Motor Corp., 303 F.3d 62, 75-76 (1st Cir. 2002) (citations and quotations omitted); see

also, Reeves v. Sanderson Plumbing Products, Inc., 120 S.Ct. 2097, 2110 (2000) (recognizing that

“the court should give credence to the evidence favoring the nonmovant as well as that ‘evidence

supporting the moving party that is uncontradicted and unimpeached, at least to the extent that

evidences comes from a disinterested witness’”) (citation omitted). Lastly, because Pennsylvania

courts interpret the PHRA in accordance with its federal counterpart, i.e. the ADA, and because




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Turco has not alleged any unique state law matter with regard to his PHRA claims, his PHRA

claims should be treated as coextensive for purposes of this motion. See e.g., Tierney v. Geisinger

System Services, Case No. 20-3327, 2021 WL 3137950, *1 (3d Cir. July 26, 2021) (citation

omitted).

III.    ARGUMENT

        A.       Turco has not Demonstrated that Zambelli Failed to Accommodate his
                 Disability.1

        An employer discriminates against a qualified individual when it does “not mak[e]

reasonable accommodations to the known physical or mental limitations of an otherwise qualified

individual with a disability who is an . . . employee, unless [the employer] can demonstrate that

the accommodation would impose an undue hardship on the operation of the business of [the

employer].” 42. U.S.C. § 12112(b)(5)(A). “Reasonable accommodations” can include “making

existing facilities used by employees readily accessible to and usable by individuals with

disabilities; and []job restructuring, part-time or modified work schedules, reassignment to a

vacant position, acquisition or modification of equipment or devices, appropriate adjustment or

modifications of examinations, training materials or policies, the provision of qualified readers or

interpreters, and other similar accommodations for individuals with disabilities.” 42 U.S.C. §

12111(9).

        To succeed under “an ADA failure-to-accommodate claim [a plaintiff] must establish: “(1)

he was disabled and his employer knew it; (2) he requested an accommodation or assistance; (3)

his employer did not make a good faith effort to assist; and (4) he could have been reasonably

accommodated.” Capps v. Mondelez Global, LLC, 847 F.3d 144, 157 (3d 2017).



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  Section III (A) addresses Counts III and VI of Plaintiff’s First Amended Complaint. See, Dkt. 21, ¶¶ 52-57; ¶¶
66-71.


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               1.     Turco has Rested His Case and Has Failed to Present a Sufficient
                      Evidentiary Basis to Establish Zambelli did Not Make a Good Faith Effort
                      to Accommodate his Claustrophobia.

       The case law instructs that “reasonable accommodation” “includes the employer’s

reasonable efforts to assist the employee in good faith under what has been termed a duty to engage

in the ‘interactive process.’” Reyer v. Saint Francis Country House, 243 F.Supp.3d 573, 595 (E.D.

Pa. 2017). “Once an accommodation is requested, the employer is required to engage in the

interactive process during which the employer and employee identify the precise limitations

resulting from the disability and the potential reasonable accommodations that could overcome

them.” Id.

       First, Turco himself failed to engage in the interactive process in good faith. The law is

clear: “both parties have a duty to assist in the search for appropriate reasonable accommodation

and to act in good faith.” Mengine v. Runyon, 114 F.3d 415, 420 (3d Cir. 1997) (emphasis added).

In his case in chief, Turco presented evidence sufficient to establish – only – that he asked Mr.

Bametzrieder for a window at Zambelli’s new office. The record is also clear that Turco only

disclosed he suffered from claustrophobia to a few, select individuals. He openly admitted he did

not discuss his request for a window or the fact that he had claustrophobia with the owners of the

company, despite having several opportunities to do so. Turco also stated that he did not approach

Zambelli’s human resources personnel, Ms. McStay, to discuss his condition.

       His reluctance to even discuss his condition necessarily resulted in Turco making no efforts

to assist in the search for an appropriate reasonable accommodation. Turco’s uncontradicted

testimony establishes that he worked at the new office less than 9 days. He did not speak to a

medical professional about what other strategies he could use to cope with his claustrophobia nor

did he provide that information to Zambelli.




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       Instead, Turco made one demand, long before the move ever occurred, and that demand

was that he be given an office with a window. In addition, Turco immediately disregarded Ms.

McStay’s suggestion of moving his desk to the large, open work area and he did not make any

effort to located and use the available walking trail as she suggested. Turco further testified that

he never made any effort to listen to music or news broadcasts on his work computer – which the

record is abundantly clear – was permitted by Zambelli’s policy to see if doing so would make his

condition more manageable in his new office at the Warrendale location.

       “The ADA . . . is not intended to punish employers for behaving callously if, in fact, no

accommodation for the employee’s disability could reasonably have been made.” Taylor v.

Phoenixville School Dist., 184 F.3d 296, 316 (3d Cir. 1999). An “employer[ is] not obligated

under the ADA to provide a disabled employee every accommodation on his wish list.” Dey v.

Milwaukee Forge, 957 F.Supp. 1043, 1054 (E.D. Wis. 1996). In fact, an employer is not obligated

to provide an employee with their requested accommodation at all. See, Sessoms v. Trustees of

University of Pennsylvania, 739 Fed.Apx.84 (3d 2018); see also Gardner v. SEPTA, 410

F.Supp.3d 723 (E.D. Pa. 2019). Third Circuit courts routinely find no discrimination when an

employer does not grant the employee’s requested accommodation. Id.

       Moreover, “nothing in the [ADA] leads [the Third Circuit] to conclude that in enacting the

disability acts, Congress intended to interfere with personnel decisions within an organizational

hierarchy.” Gaul v. Lucent Tech., Inc., 134 F.3d 576, 581 (3d Cir. 1998) (quotation and citation

omitted). In fact, “[e]ven if the employer’s business decisions are erroneous or illogical, the ADA,

. . . is not a vehicle for reviewing the propriety of business decisions.” Brown v. Holy Name Chtrch,

80 F. Supp. 2d 1261, 1270 (D. Wyo. 2000).




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           On its face, Turco’s request for an office with a window was not a request for an

accommodation; but rather, was a request to undue Zambelli’s business decision. Zambelli made

the business decision to awarded another project manager, who consistently out-performed Turco,

an office with a window. Such a decision was made, not because of Turco’s disability, but because

Zambelli felt it important to reward its top performing project manager. Given that Zambelli

offered Turco several alternative accommodations which he summarily rejected, a reasonably jury

could not conclude that Zambelli did not make a good faith effort to accommodate his

claustrophobia. Accordingly, judgment as a matter of law should be entered in Zambelli’s favor

on Turco’s failure to accommodate claims under the ADA and the PHRA.

           B.       Zambelli Terminated Turco for Legitimate Business Purposes and Turco has
                    failed to Present a Legally Sufficient Evidentiary Basis to Demonstrate
                    Pretext.2

           Zambelli’s decision to terminate Turco was based on a legitimate, non-discriminatory

reasons – he was the least profitable project manager for years and he failed to take sufficient steps

to correct his inadequate sales performance – and there is no evidence that Zambelli’s reasons are

a pretext for disability discrimination or retaliation. “The ultimate burden of persuading the trier

of fact that the defendant intentionally discriminated against the plaintiff remains at all times with

the plaintiff.” Jones v. School Dist. Of Phila., 198 F.3d 403, 410 (3d Cir. 1999). It is the plaintiff’s

burden to establish pretext. Id. With respect to the pretext question, “[a]t this point, the court

focuses on whether there is sufficient evidence from which a jury could conclude that the purported

reasons for defendant’s adverse employment actions were in actuality a pretext for intentional

discrimination.” Shaner v. Synthes, 204 F.3d 949, 500 (3d Cir. 2000).




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    Section III(B) addresses Plaintiff’s remaining claims, Counts I, II, IV, and V. See, Dkt. 21, ¶¶ 44-51; ¶¶ 58-65.


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       At trial, Turco’s arguments for pretext have all been dismantled, leaving him only with his

self-serving claims that his termination was related to his claustrophobia. The uncontradicted

evidence established Turco was consistently one of the least profitable project managers in the

company. For years, Zambelli was concerned with its project manager’s profitability numbers and

those concerns were communicated directly to Turco. Turco himself stated that he understood he

needed to make changes in regards to his sales practices and profitability numbers. After ample

opportunity to implement the changes that were expected of him, Turco was terminated. He has

failed to present evidence to contradict the legitimacy of Zambelli’s stated reasons for terminating

him.

       In light of the foregoing, “there is [not] sufficient evidence from which a jury could

conclude that the purported reasons for defendant’s adverse employment actions were in actuality

a pretext for intentional discrimination.” Shaner, 204 F.3d at 500. As a result, Turco’s ADA and

PHRA claims for termination should be dismissed as a matter of law.

IV .   CONCLUSION

       In sum, Turco has failed to demonstrate that Zambelli has discriminated against him in

violation of the ADA or PHRA in any way and judgment as a matter of law should be entered in

Zambelli’s favor on all of Turco’s claims.




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Date: September 29, 2021         Respectfully submitted,

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